THE UNITED STATES DISTRICT COURT
FOR EASTERN DISTRICT OF TENNESSEE SOUTHERN DIVISION
AT CHATTANOOGA

Patrick Shane Carmody
Plaintiff

vs.

Tennessee Department of Corrections )

Frank Strada Commissioner, )

Lee Dotson Asst. Commissioner, ) Case No.
Kenneth Williams Former Med. Dir., )
Dr. Gail Johnson Med. Dir., )
Hith. Admin. Jane Doe 1, )
Reg. Warden Michael Genovese, )
Warden Eller (FNU), )
A.W.T. Andrews(FNU), )
Lt. Murphy (FNU), )
Unit Mngr. Cox (FNU), )
Disc. Brd. Sgt. MCclure (FNU), )
Off. Plank (FNU), )
Grev. Brd. Sgt. Worley (FNU), )
Off. Roberson (FNU), )
Centurion of Tennessee, LLC, )
Steven Wheeler CEO Centurion, )
Dr. Faber (FNU), )
Jane Doe Nurse 2 (FNU), )
Jane Doe Nurse 3! (FNU) )

Respondents

42 U.S.C.A., § 1983 CIVIL RIGHTS COMPLAINT
1. Plaintiff Patrick Shane Carmody brings this civil rights complaint for monetary damages, due
to the Abridgement of his Constitutional rights being set forth and secured under provisions of
the Eight and Fourteenth Amendments of the United States Constitution and the Abridgement
of his rights secured under provisions of the American With Disabilities Act of 1990; Title IT

and U.S.C. 42 § 12191 et. seq.; Title VIT § 12131, 28 CLF.R. § 35.130 (6)(7), suit by a private

' Jane Doe 1, 2,and 3 names are unknown, administrators are refusing to provide, thus, will provide after discovery.

1

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page1of18 PagelD#: 1
citizen for monetary damages against public entities, U.S. v. Georgia, 546 U.S. 151, 160 (1960);
of the Civil Rights Act of 1964, 42 U.S.C. § 2000e — 3(a); §§ 504 and 704 (a) of the

Rehabilitation Act of 1973; 29 U.S.C. § 794 et. seq.; 42 U.S.C. § 1981 @(b)(3).

2. This action seeks damages to redress the Abridgement of his Constitutional rights by: the
Tennessee Department of Corrections, [herein TDOC] and its employees, the (2) Centurion of
Tennessee, LLC [herein Centurion] and its employees and all named defendants, and all
unknown defendants [herein FNU] who acted individually or in concert with each other in their
personal and their official capacities with complete awareness, “deliberate indifference”’, inter
alia, “gross negligence”, whereby, not providing the Plaintiff with the adequate necessary
medical care commensurate with professional norms relating to the injuries that the Plaintiff
sustained; and therewith, causing “severe” undue physical, emotional and psychological pain and
suffering that could have been prevented by the exercise of “due diligence” and the proper

administration of standard medical procedure.

Il.
JURISDICTION
3. The actions complained upon herein occurred in Johnson County, Tennessee within the
jurisdiction and venue of this Respective Court pursuant to: 42 U.S.C. § 1983, 1988 and 28
U.S.C. $$ 1331, 1343 (a) (3) giving this Court subject matter jurisdiction over state torts and
actions for “deliberate indifference”, inter alia, “gross negligence” pursuant to the Tennessee
Health Care Liability Act [THCLA] under , Tennessee Code Annotated § 29-26-122, i.e.: Notice

and Certificate of Good Faith.

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 2of18 PagelD #: 2
4. The Plaintiff served Certification of Good Faith and Notice to Defendants;]; and TDOC,
Frank Strada, Lee Dotson, , Kenneth Williams, Dr. Gail Johnson, Reg. Warden Michael
Genovese Warden Eller (FNU), A.W.T. Andrews (FNU), Lt. Murphy (FNU), Unit Mner. Cox
(FNU), Dis. Brd. Sgt. MCclure (FNU), Off. Plank (FNU), Grv. Brd. Sgt. Worley (FNU), Off.
Roberson (FNU); Centurion, Steven Wheeler, Hlth. Admn. Jane Doe 1, Dr. Faber (FNU), Jane
Doe Nurse 2 (FNU), and Jane Doe Nurse 3 (FNU).

Il.

EXHAUSTION OF ADMINISTRATIVE REMEDIES

5. Plaintiff filed grievances pursuant to 42 U.S.C. § 1997e (a) and TDOC Policy 501.01 to ne
avail . Plaintiff avers, with specificity, that the grievance procedure is inept — effectively non
functional as an administrative remedy, inter alia, incapable of providing relief. Therefore, the
Plaintiff, specifically, moves to invoke the “Exception to the Rule Doctrine” pursuant to Ross v.
Blake, US. , 1368. CT. 1850, 195 L. Ed. 2d 117 where the Court clarified the standard
for exception at; n. 10 2., and PLRA of 1996 § 101(a), 42 U.S.C.A. § 1997 e(a). Plaintiff is
timely before this Respective Court.

IV.

PARTIES
Plaintiff:

6. Plaintiff Patrick Shane Carmody is a citizen of the United States of America that is presently
residing in Pikeville, County of Bledsoe, State of Tennessee at Bledsoe County Correctional
Complex (B.C.C.X.), however. it should be well noted that at the time relevant to this civil
action, or claim within this cause the Plaintiff was residing in Mtn. City, County of Johnson,

State of Tennessee at Northeast Correctional Complex (N.E.C.X.).

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 3of18 PagelD #: 3
DEFENDANTS’

7. Defendant Tennessee Department of Corrections, [herein TDOC] is an entity of Tennessee
responsible for prisoners under its care, custody and control, subcontracted specific services to
Private Corporations: [Centurion of Tennessee, LLC (herein Centurion) through Legislative
acts. At all times pertinent hereto the TDOC as a state entity acted under the color of state law,
inter alia, the Plaintiff was under their control.

8. Defendant Frank Strada, is the Commissioner of the TDOC is the final authority on the rules
and regulations, responsible for prisoners under his care, at all times pertinent hereto Defendant
Strada violated Plaintiff's Constitutional rights while acting under the color of state law, is sued
in his individual and official capacity and can be served at Rachel Jackson Bldg. 320 Sixth Ave.
N. 6" Floor Nashville, Tennessee 37243- 0465.

9.Defendant Lee Dotson, is the Assistant Commissioner of the TDOC responsible for reviewing
Grievances, at all times pertinent hereto Defendant violated Plaintiff's Constitutional rights while
acting under the color of state law, sued in his individual and official capacity and can be served
at Rachel Jackson Bldg. 320 Sixth Ave. N. 6" Floor Nashville, Tennessee 37243-0465.

10. Defendant Kenneth Williams,” the medical director for TDOC is a final authority on
reviewing, approving, or denying medical treatment, assure Centurion’s compliance of their
contract. At all times pertinent hereto Defendant violated Plaintiff's Constitutional rights while
acting under the color of state law, is sued in his individual and official capacity and can be

served at Rachel Jackson Bldg. 320 Sixth Ave. N. 6" Floor Nashville, Tennessee 37243-0465.

2 Dr. Gail Johnson has since replaced Defendant Kenneth Williams as the medical director of TDOC.

4

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 4of18 PagelD#: 4
11. Defendant Jane Doe 1 (FNU), is the Health Administrator at Northeast Correctional
Complex, is a final authority responsible for assuring prisoners receive medical treatment,
assuring Centurion compliance of their contract. At all times pertinent hereto Defendant
violated Plaintiff's Constitutional rights while acting under the color of state law, sued in her
individual and official capacity and can be served at Northeast Correctional Complex P.O. Box
5000 Mtn. City, Tennessee 37683-5000.

12. Defendant Michael Genovese, was the Regional Warden for Eastern District is responsible
for overseeing Warden Eller and A.W. T. Andrews on the rules and regulations, responsible for
prisoners under their care, at all times pertinent hereto Defendant Genovese violated Plaintiffs
Constitutional rights while acting under the color of state law, sued in his individual and official
capacity and can be served at Rachel Jackson Bldg. 320 Sixth Ave. N. 6" Floor Nashville,
Tennessee 37243-0465.

13. Defendant Eller (FNU), is the Warden of Northeast Correctional Complex is the final
authority on the rules and regulations, responsible for prisoners under his care, at all times
pertinent hereto Defendant Eller violated Plaintiff's Constitutional rights while acting under the
color of state law, sued in his individual and official capacity and can be served at Northeast
Correctional Complex P.O. Box 5000 Mtn. City, Tennessee 37683-5000.

14. Defendant Andrews (FNU), is the Associate Warden of Treatment is responsible for all the
treatment and care of prisoners at Northeast Correctional Complex, at all times pertinent hereto
Defendant Andrews violated Plaintiff's Constitutional rights while acting under the color of state
law, sued in his individual and official capacity and can be served at Northeast Correctional

Complex P.O. Box 5000 Mtn. City, Tennessee 37683-5000.

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page5of18 PagelID#:5
15. Defendant Cox (FNU), was the Unit Manger and responsible for the treatment and care all
prisoners in his units at Northeast Correctional Complex, at all times pertinent hereto Defendant
Cox violated Plaintiff's Constitutional rights while acting under the color of state law, sued in his
individual and official capacity and can be served at Northeast Correctional Complex P.O. Box
5000 Mtn. City, Tennessee 37683-5000.

16. Defendant MCclure: (FNU), is the Disciplinary Board Sgt. and responsible for ensuring
that all prisoners are afforded the right to “due process” of law, the right to a “fair and impartial”
hearing, inter alia, the “equal protection” under the law at Northeast Correctional Complex, at all
times pertinent hereto Defendant MCclure violated Plaintiff's Constitutional rights while acting
under the color of state law, sued in his individual and official capacity and can be served at
Northeast Correctional Complex P.O. Box 5000 Mtn. City, Tennessee 37683-5000.

17. Defendant Plank:(FNU), was the Unit 14 Officer and responsible for the treatment of all
prisoners in her unit at Northeast Correctional Complex, at all times pertinent hereto Defendant
Plank violated Plaintiffs Constitutional rights while acting under the color of state law, sued in
her individual and official capacity and can be served at Northeast Correctional Complex P.O.
Box 5000 Min. City, Tennessee 37683-5000.

18. Defendant Worley: was the Unit Sgt. supervising Unit 14 Off. Plank and responsible for
the treatment and care of all prisoners in her units at Northeast Correctional Complex and is, at
this time ,the Grievance Board Sgt. and responsible for ensuring that all prisoners are afforded
their right to “due process” of law, the right to a “fair and impartial” hearing, inter alia, the
“equal protection” under the law at Northeast Correctional Complex, at all times pertinent hereto

Defendant violated Plaintiff's Constitutional rights while acting under the color of state law, sued

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 6of18 PagelD #: 6
in her individual and official capacity and can be served at Northeast Correctional Complex P.O.
Box 5000 Mtn. City, Tennessee 37683-5000.

19. Defendant Roberson: is the intake officer and responsible for the treatment and care of all
prisoners in transit at Bledsoe County Correctional Complex, at all times pertinent hereto
Defendant violated Plaintiff's Constitutional rights while acting under the color of state law, sued
in his individual and official capacity and can be served at Bledsoe Correctional Complex 1045
Horsehead Rd. Pikeville, Tennessee 37367.

20. Defendant Centurion of Tennessee., LLC [herein Centurion] based upon information and
belief is a limited liability company whose incorporation or organization is a Register Agent CT
Corporation, operating out of the State of Pennsylvania, with a corporate office based in
Knoxville, Tennessee 39919 -5546. Defendant Centurion contracted with the State of Tennessee
to provide; medical, dental, mental, and psychological care to TDOC prisoners, as such
delegated an essential government function by the state as a guasi- governmental entity. At all
times pertinent hereto Defendant Centurion violated Plaintiff's Constitutional rights while
acting under the color of state law, sued in its official capacity and can be served at CT
Corporation stationed at 300 Montvue Rd., Knoxville, Tennessee 39919-5546.

21. Defendant Wheeler: based on information and belief is the Chief Executive Officer of
Centurion who, by his affixed signature to the Contract between, Centurion, the State of
Tennessee and is the final authority for promulgating and enforcing Rules, Policies, Practices,
and Procedures of Centurion to provide; medical, dental mental, and psychological service to
TDOC prisoners, responsible for employees under his tutelage, assuring compliance of the
contract he signed as CEO. At all times pertinent hereto Defendant Wheeler violated Plaintiff's

Constitutional rights while acting under the color of state law, sued in his individual and official

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 7of18 PagelD #: 7
capacity can be served at CT Corporation stationed at 300 Montvue Rd., Knoxville, Tennessee
39919-5546.

22. Defendant Faber: is the chief physician at Northeast Correctional Complex employed by
Centurion responsible for the medical diagnosis of prisoners seeking medical care. Defendant
Faber is responsible for reviewing, recommend, approving or denying medical treatment and
care of prisoners, to prevent unnecessary pain and suffering. At all times pertinent hereto
Defendant Faber violated Plaintiff's Constitutional rights while acting under the color of state
law, sued in his individual and official capacity can be served at CT Corporation stationed at 300
Montvue Rd., Knoxville, Tennessee 39919-5546.

23. Defendant Jane Doe Nurse 2 : is the nurse at Northeast Correctional Complex employed by
Centurion responsible for the medical treatment and care of prisoners seeking medical care.
Defendant is responsible for examining and analyzing medical treatment and care of prisoners, to
prevent unnecessary pain and suffering. At all times pertinent hereto Defendant Jane Doe Nurse
1 violated plaintiff's Constitutional rights while acting under the color of state law, sued in her
individual and official capacity can be served at CT Corporation stationed at 300 Montvue Rd.,
Knoxville, Tennessee 39919-5546.

24. Defendant Jane Doe Nurse 3 : is the nurse at Northeast Correctional Complex employed by
Centurion responsible for the medical treatment and care of prisoners seeking medical care.
Defendant is responsible for examining and analyzing medical treatment and care of prisoners, to
prevent unnecessary pain and suffering. At all times pertinent hereto Defendant Jane Doe Nurse
1 violated plaintiff's Constitutional rights while acting under the color of state law, sued in her

individual and official capacity can be served at CT Corporation stationed at 300 Montvue Rd.,

Knoxville, Tennessee 39919-554

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 8of18 PagelD #: 8
V.
CAUSE OF ACTION

On or about Nov. 21%, 20233, I sustained what would later be determined to be a “catastrophic”
injury due to the (TDOC) Tenn. Dept. of Corr.’s “deliberate indifference” whereby I landed in a
hole or crater on the ballfield while running during a soccer game in the closing minutes of
recreation of which could have been prevented, due to the fact, the staff had closed the ballfield
for two - winters consecutively for the purpose of repairing the turf of which had been never
addressed. Thereafter, with only a limited amount of time before count I returned to Unit 12 to
be locked down and afterwards when let off lockdown attempted to walk to lunch but could
not sustain a continuous gate and had to sit down on the ground at the security checkpoint where
I notified Off. White (FNU) of my difficulty to walk. Following lunch I fell outside Unit 12
because I had become numb from the waist down and could not sustain my balance or spatial
orientation as it relates to walking; and therefore, I was taken to the clinic whereupon I was seen
by Jane Doe Nurse 1 and held for basic medical care, such as but not greater than, (pulse checks,
blood pressure checks, and temperature check) and then asked the attending physician, if, the
medical staff was going to wait until I was numb to my shoulders before they would airlift me
off the compound from which Dr. Faber replied , and I quote:
[He would not waist (60,000) dollars to airlift me off the compound.], end quote; and
therefore, I had been summarily told to go back to my cell that there was nothing wrong with
me whereupon I later fell, once again, hitting my head on the toilet due to my inability to walk;
and subsequent thereto, I was escorted by medical staff back to the clinic where | had been
informed that they would be placing me in a holding cell located in the clinic for observation

over the weekend until Dr. Faber returned.

3 Date is uncertain due to the fact the (TDOC) will not provide me with the exact dates of which I was injured.

2

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page9of18 PagelD #:9
It should be well noted that at this time of the year the temperature in Mtn. City was in the mid
to low twenties temperature range, or (20) degrees, inter alia, the clinic staff were operating the
air conditioning system in an attempt to dissuade inmates from being housed there. Within the
first few hours of the first day of being housed in the clinic, it became obvious that I had suffered
a “catastrophic” injury, due to the fact, I could only maintain a “plank position” in the bed due to
the “extreme” pain that I was suffering from that of which felt as if I was being symmetrically
pulled apart.

During the first day of being confined in the clinic cell, I began to experience an inability to
urinate due to what appeared to be some sort of blockage within my urinary tract; therefore, I
would attempt to urinate at times of which required me to traverse the large cell area from the
bed to the toilet of which required me to hold on to the interior walls of the cell and make my
way, accordingly. Throughout this process of attempting to urinate, I began to experience a
significant amount of blood being discharged from my penis, and an “extreme” amount of pain
of a magnitude of the highest of orders such as I had never experienced in my life. I believe that
on the second day of being housed in the clinic cell, I realized that my body must have been in
the process of passing kidney stones because of the inordinate amount of pain that I had been
experiencing. At that point in time, I began to strain myself at regular intervals in an attempt to
expedite the passing of the kidney stones, but to no avail! These futile attempts continued
throughout the day on a restricted basis due to the fact of having to traverse the interior walls of
the cell in conjunction with the “extreme” pain from which I was suffering until finally that
evening I had been able to pass the first of what was to be in total three — kidney stones

altogether over the course of the weekend of which almost killed me in the process.

10

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 10o0f18 PagelD #: 10
After experiencing a myriad of cruel and unusual actions by the medical staff throughout the
weekend that shall not be specifically identified at this juncture, I had been informed by Jane Doe
Nurse 2 (FNU) that I would be required to move back to my cell in Unit 12 and that I needed to
hurry and leave the clinic, “and that they would be taking my wheelchair”, however, | explained
to her that I was unable to properly use my coordinative skills, nor spatially orient my attempted
walking. In a moment of disbelief, Jane Doe Nurse 2 stated, and I quote: [I’m going to relearn
you how to walk.], end quote; and therewith, proceeded to grab my arm and began to pull me
down the hallway of the clinic, even though, I was begging her to stop of which terrified me and
had been witnessed by a number of individuals. Finally, the medical staff permitted me to go back
to the cell from which I came after the clinic janitorial staff inmate cleaned the urine and blood off
the floor that had accumulated over the weekend of which caused me great psychological harm
throughout the weekend by having to traverse such a dangerous condition to access the toilet.

Let the record reflect that following being checked — out of the clinic cell area, I had been issued
a walker instead of the wheelchair that I had been provided previously. Accordingly, I was forced
to drag my right leg on the sidewalk behind the walker, due to the fact, the positioning of my feet
had been altered because of the “severe spinal stenosis” that I had suffered of which transferred
into the constituent muscle groups damaging my right groin muscle to such an extent that any
movement whatsoever was “excruciatingly” painful that prevented me from accessing the
cafeteria resulting in me missing a myriad of meals causing extreme detriment by diminishing my
health considerably; and therefrom, placed me in a “spiraling psychological state” reducing me
to but a “shadow of a man”, especially, in consideration of the fact that a number of correctional
officers that had been illegally been introducing drugs at (N.E.C.X.) had joined into an alliance to

harm me because I had contacted the Deputy Att. Gen. of Madison County regarding their crimes.

11

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 110f18 PagelD #: 11
Now, at this juncture, | believe that it is imperative to articulate the underlying foundational
elements that existed at (N.E.C.X.) that created the “extraordinary and exceptional”
“aggravating circumstances” by the staff that of which I had been subjected to prior to the injury,
and throughout this traumatic ordeal at (N.E.C.X.), in order, to show how each individual
defendant played a role in conspiring to cause me “psychological, emotional, and physical harm
of a magnitude of the Highest of Orders.

First, as it relates to Defendant Off. Plank (FNU) the unit officer assigned to Unit 14 where I
lived, she had been introducing contraband along with other officers, such as but not limited to
drugs, to certain inmates on a regular basis of which I had intimate knowledge due to the fact my
job assignment included my presence in the field office where the officers took their lunchbreaks
of which made me privy to certain conversations and illegal acts; and therefore, I proceeded to quit
my job because of inmates dying from overdosing on Fentanyl. Following my exodus from my
position in the field office, Off. Plank acted under the color of state law while I was under her
control to advance a frivolous disciplinary infraction against me after being released one day from
my new job assignment on the yard crew, whereupon, I simply asked to access my cell to take a
shower in order to remove the grass from my person before going to lunch. After making me wait
for approx. (20) twenty — minutes “without incident” in front of my cell, she informed me and |
quote: [ “that I was on her time and she would open the cell when she pleased”|, end quote, and
then I informed Off. Plank she needed to leave me alone, especially, when I was aware that she
was illegally introducing drugs into prison. Thereafter, I then attempted to take a shower, however,
as soon as I entered the shower Off. Plank announced the lunch call - out, in order, to “willfully
and knowingly” preclude me from being able to eat; and therefore, I exited the shower and asked

that a Sgt. be called to assist me in being able to eat following mowing grass all morning.

12

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 12 0f18 PagelD #: 12
As I repeatedly asked Off. Plank for assistance from the Unit Sgt. to be allowed to go eat,
Counselor Bradshaw (FNU) hit the panic code button on his radio apparently thinking that my
requests for assistance was actually Off. Plank requesting assistance of which as stated “was not”
the case. Within minutes, Off. Robinson and Off. Swallow entered Unit 14 and proceeded to ask
me who was causing the problem since I was in close proximity to the front door leaning against
a column that I had been instructed to do. At that point in time, Counselor Bradshaw pointed at
me of which prompted Off. Swallow to state, and I quote: [“You called us all the way up here
because of him when he causes no problems, whatsoever”, end quote. At this juncture, I was
instructed to go to my cell and get dressed, “without escort unattended”, and that they would try
to sort out what was going on. It should be well noted that “at no time whatsoever had I been
restrained in any capacity” by Off. Robinson or Off. Swallow of which is standard procedure
when a panic code is issued , due to the fact, both Off. Robinson and Off. Swallow stated that there
was no need to restrain me since I had worked for the administration and never presented an issue
of disobedience or disciplinary behavior. I then proceeded to follow both Off. Robinson and Off.
Swallow down to intake where they could discuss the situation with Capt. Murphy the shift
supervisor, in order, to find out what was to be done regarding the situation that had manifested
by Counselor Bradshaw improperly hitting his panic code button when he personally had not
witnessed any disciplinary infraction behavior whatsoever that would have justified such an
extreme action. Accordingly, I was instructed that I would be required to stay in the holding cell
in intake for a couple of hours until after count — time, in order, to rectify the situation and make
sure that there was no genuine issue to be addressed. After being released, I was instructed that
Off. Plank would be advancing a disciplinary infraction of “defiance” against me, in order, to

justify Counselor Bradshaw’s improperly issuing a panic code.

13

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 13 0f18 PagelD #: 13
Subsequent to being released from the holding cell in intake, I had been informed that I would be
required to go back to my cell in Unit 14 and back my property, due to the fact, I was being
removed from Unit 14, of which is an honor unit, and being transferred to Unit 12, of which is also
an honor unit, however, is populated with an “overwhelming” amount of gang members of which
made “no sense”, especially, when I had been charged with a disciplinary infraction. More
importantly, it should be well noted that this transfer had been “directed” by Unit Manager Cox
(FNU) and Capt. Murphy (FNU) that of which had placed me directly across the unit from the
head gang member that Off. Plank had been introducing contraband into the facility with being
“square within the cross — hairs”, in order, to send me a profound message that I need to watch
what I say that was confirmed later that evening by the aforementioned head gang member’s
constituents. Following being served with the disciplinary infraction, it became completely
apparent that Sgt. Worley had not only created an entire “false narrative” contained within the
body of the disciplinary description section, but had omitted a large portion of the events that had
transpired throughout the ordeal creating a “contextual void” relating to the (20) twenty — minutes
that had elapsed “without incident”, in order, to “foster a false impression” resulting in
“substantial unfair prejudice” of a magnitude of the Highest of Orders of a Constitutional nature,
irreparably. Shortly thereafter, I composed a letter to the Deputy District Attorney General of
Madison County, Shaun Allen Brown, whom of which had been a life long friend, stating that my
life was in danger by a number of officers who had been illegally introducing drugs into the prison
that had resulted in the deaths of inmates. Afterwards, I proceeded to Disciplinary Sgt. McClure
to request a continuance relating to the disciplinary infraction, however, was informed that they
would be dismissing the disciplinary charges, due to the fact, that I had been properly released

from my job assignment of which reduced the disciplinary infraction to “Notwithstanding”.

14

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 14o0f18 PagelID#: 14
However, the very next day I was summoned to the disciplinary board and subjected to a trial by
ambush conducted by Dis. Brd. Sgt. McClure and found guilty of the offense of “Defiance”
without ever being consulted by an inmate advisor prior to the hearing, and in fact not becoming
aware of who my inmate advisor had been until approximately a week after the “travesty” itself.
As a matter of fact, I had questioned Inmate Advisor Justice (FNU) who the other individual was
that was present during the disciplinary hearing on the far side of the room away from me that
should not have been present during the taking of testimony according to (TDOC) policy and
procedure. Accordingly, I appealed to Warden Eller (FNU) whereby not only contesting the
substance of the “false narrative” that had been “unlawfully” created by Sgt. Worley, but as
importantly the “unlawful” process and procedure that had been employed by Dis. Brd. Sgt.
McClure, however, even until this day I have never been provided with any answer from Warden
Eller (FNU). Therefore, let the record reflect that the Plaintiff has never been afforded any
opportunity let alone an “objectively reasonable opportunity” to exhaust the remedies that have
been set in place by the (TDOC) as it relates to disciplinary procedures, such as but not limited to,
appealing to the Commissioner of (TDOC); and accordingly, due to the fact that no remedy exists
for the correction of these “unlawful” acts the Plaintiff has no other recourse except to include
these offenses in the forthcoming civil rights action because all these events are, without question,
“willfully and knowingly” interconnected exhibiting the essential elements of an ongoing
conspiracy by several (TDOC) officers along with the Centurion medical staff members by
“deliberate indifference” to harm the Plaintiff. Thus, the Plaintiff's right to “due process” of law,
the right to a “fair and impartial hearing”, the right to the Assistance of Counsel for his defense,
inter alia, the “equal protection” of the law has been and remains “unlawfully” Abridged causing

“substantial unfair prejudice” of the Highest of Orders, irreparably!

15

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 15o0f18 PagelD #: 15
VI.
Synopsis of Continuing Violation Doctrine

After being transferred to (BCCX) Bledsoe County Correctional Complex Site 1, I finally
began to receive some semblance of medical attention in the form of additional X-rays and the
attending physician ordered that I was to be provided with a wheelchair that had been improperly
taken from me while I had been in transit at (BCCX) Bledsoe County Correctional Complex a
few months prior by Off. Roberson; and in addition, that I would be receiving a “zoom visit”
with an orthopedist in the coming weeks. However, a few weeks had passed when I had been
reassigned to (BCCX) Site 2; and thereupon, during a routine examination in the clinic unrelated
to this case, I conveyed to the attending physician, Dr. Samuels, the nature of my injury, and the
fact that I had received absolutely “no substance” of medical care or treatment throughout this
entire ordeal by the provider Centurion CT Corporation, nor the (TDOC) Tennessee Department
of Correction.

Accordingly, Dr. Samuels ordered that I be sent to (SNP) Special Needs Prison in Nashville to
finally be provided an (MRI) magnetic resonance imaging examination or test, in order, to
ascertain the nature of, and the full extent of my injury finally after (9) nine-months of “no
medical care or treatment” and being told that my spine was healthy, inter alia, that I had been
suffering from “psychosomatic delusions” and that my inability to walk was all in my head.
Following being provided the (MRI) at (SNP) in Nashville, I returned to (BCCX) Site 2 and
awaited the results of which revealed that I had been suffering from “catastrophic” spinal
stenosis and the corresponding nerve damage commensurate with such an injury throughout L2 -

L5 of the lumbar system that would, without question, require extensive surgery.

15

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 16 o0f18 PagelD #: 16
Vil.
PRAYER FOR RELIEF

WHEREFORE PREMISES CONSIDERED, Plaintiff respectfully requests:

a) That process issue and be served upon Defendants’ requiring them to appear and answer
this Complaint within (30) thirty — days in accordance with Federal Rules of Federal

Procedure.

b) That the Defendants practices complained herein be declared in violation of the First,
Eighth, and Fourteenth Amendment of the United States Constitution.

c) That Plaintiff be granted any compensatory damages to which he is entitled to recover for
the wrongful actions arising from Defendants’ conduct while acting under the color of
state law as set forth herein;

d) That the Plaintiff be granted monetary damages from all Defendants to which he is
entitled under 42U.8.C. § 1983 as a result of the actions of while acting under the color of
state law complained of herein in the sum of:

Defendant Tennessee Department of Corrections [herein TDOC] is sued for
monetary damages One Dollar Nominal Damages, One Dollars (1.00) Punitive
damages, and One Dollars (1.00 Compensatory Damages;

Defendant: Frank Strada, Commissioner is sued in his personal capacity for
monetary damages in the amount of: Two-Hundred and Fifty Thousand Dollars
(250,000) Nominal Damages, Two-Hundred and Fifty Thousand Dollars (250,000)
Punitive Damages, and Five-Hundred Thousand Dollars (500,000) in
Compensatory Damages;

Defendants: Lee Dotson, Asst. Commissioner, Kenneth Williams, Dr. Gail Johnson,
Medical Dir., Jane Doe, are sued in their individual and official capacities for
monetary damages in the amount of: Two-Hundred and Fifty Thousand Dollars
(250,000) Nominal Damages, Two-Hundred and Fifty-Thousand Dollars (250,000)
Punitive Damages and Five-Hundred Thousand Dollars (500,000) Compensatory

Damages each;

Defendant: Michael Genovese, was the Regional Warden is sued in his individual
and official capacity for Five-Hundred Thousand (500,000) Nominal Damages,
Five-Hundred Thousand Dollars (500,000) Punitive Damages, One-Million Dollars
(1,000,000) Compensatory Damages;

Defendants: Eller (FNU), Andrews (FNU), Murphy (FNU), are sued in their
individual and official capacity for monetary damages in the amount of: Two-
Hundred and Fifty Thousand (250,000) Nominal Damages, Two-Hundred and Fifty
Thousand (250,000) Punitive Damages, Five-Hundred Thousand (500,000)
Compensatory Damages each;

16

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 17 of 18 PagelD #: 17
e Defendants: Cox (FNU), McClure (FNU), Plank (FNU), Worley(FNU), Roberson
(FNU), are sued in their individual and official capacity for monetary damages in the
amount of Five-Hundred Thousand Dollars (500,000) Nominal Damages, Five-
Hundred Thousand (500,000), Nominal Damages, Five-Hundred Thousand Dollars
(500,000) Punitive Damages, One Million Dollars (1,000,000) Compensatory
Damages each;

e) Defendant: Centurion of Tennessee LLC., Steven Wheeler CEO, Dr. Faber (FNU),
Jane Doe Nurse 2, Jane Doe Nurse 3, are sued in their individual and official capacity for
monetary damages in the amount of One Million Dollars (1,000,000) Nominal Damages,
One Million Dollars (1,000,000) Punitive Damages, Two Million Dollars (2,000,000)

Compensatory Damages;
f) That the Plaintiff is awarded a trial by jury.

g) That the Plaintiff be allowed to proceed in forma pauperis.

h) That Plaintiff is awarded such other, further and general relief to which he may be
entitled under either law or equity.

i) That counsel be appointed to assist Plaintiff as elbow counsel for pretrial conference and
trial.

IT IS PRAYED
Respectfully submitted

Patrick 3. Comady

Patrick S. Carmody

DECLARATION OF TRUTH UNDER 42 U.S.C.A 1746 (e)

I, Patrick S. Carmody, Plaintiff pro se hereby certifies under penalty of perjury pursuant
to 42 U.S.C.A § 1746 and all applicable laws of the United States of America that the foregoing
is true and correct to the best of my knowledge, belief and understanding... AND...

CERTIFICATE OF SERVICE
I, Patrick S. Carmody, Plaintiff pro se farther avers that a true and exact copy of the
foregoing was placed in the BCCX mail box with sufficient first-class postage prepaid to United
States District Court for the Eastern District of Tennessee, Clerk of the Court -John L Medearis,
at 900 Georgia Ave. Rm 309, Chattanooga, Tennessee 37402 on this 26,day of Der, 2022,
2023 by:

Respectfully submitted

Patrick S. Carmody

17

Case 1:24-mc-00002-TRM-CHS Document1 Filed 01/03/24 Page 18 0f18 PagelD #: 18
